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December 12, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Kadrey, et al v. Meta Platforms, Inc.; Case No. 23-cv-03417-VC (TSH)

Dear Judge Hixson:
        Plaintiffs in the above-captioned action and Defendant Meta Platforms, Inc. (“Meta”)
jointly submit this letter brief regarding the sufficiency of Meta’s 30(b)(6) testimony with respect
to Meta’s efforts to acquire text data to train Llama, including Meta’s alleged
          The parties conferred at the time of Meta’s 30(b)(6) testimony but were unable to reach a
resolution.
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By: /s/ Bobby Ghajar                          By:    /s/ Maxwell V. Pritt

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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.



Dated: December 12, 2024                                      BOIES SCHILLER FLEXNER LLP


                                                              /s/ Maxwell V. Pritt
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                                                              Reed Forbush
                                                              Jay Schuffenhauer

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